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Elizabeth F. Rojas
15260 Ventura Blvd.
Suite 710
Sherman Oaks, CA 91403
Telephone: (818) 933-5700
Facsimile: (818) 933-5755


                            UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                              SAN FERNANDO VALLEY DIVISION


IN RE:                                               CHAPTER 13 CASE NO. 1:15-bk-13827-MT

Stephen L. Burton
                                                     NOTICE OF INTENT TO PAY CLAIM
                                      Debtor          (Change of Creditor Address)


    NOTICE IS HEREBY GIVEN TO DEBTOR AND COUNSEL, IF ANY, AND OTHER PARTIES
IN INTEREST, that the Trustee has been notified that the below listed Creditor has changed its address .
The Trustee intends to pay claims of the following Creditor at the new address listed below unless
objection is made to the Clerk of the Court at Clerk of the Court, 21041 Burbank Blvd ., Woodland Hills,
CA 91367-1367 AND to the Chapter 13 Trustee at the above address, by the Debtor, Creditor or any
other party in interest within fifteen (15) days from the date of this notice.


              PREVIOUS ADDRESS                                    CURRENT ADDRESS

 John Keith Seals                                    JOHN KEITH SEALS
 21604 Ridgefield Court                              1388 North Willowick Avenue
 Saugus, CA 91350                                    Eagle, ID 83616


THE ABSENCE OF A WRITTEN OBJECTION, TIMELY FILED WITH THE COURT AND
PROPERLY SERVED, IS DEEMED AN APPROVAL BY THE DEBTOR, CREDITOR AND OTHER
PARTIES IN INTEREST TO PAYMENT OF CLAIMS AS LISTED ABOVE.



DATE: May 02, 2019                                           /s/ Elizabeth F. Rojas
                                                             Elizabeth F. Rojas, TRUSTEE
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                                         PROOF OF SERVICE


STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:

I declare under penalty of perjury that I am over the age of eighteen years and not a party to the within
entitled action, I am employed by Elizabeth F. Rojas, Chapter 13 Standing Trustee, 15260 Ventura Blvd .,
Suite 710, Sherman Oaks, CA 91403, and that on May 02, 2019, I served the within document (s) on all
parties in interest listed below, by placing a true copy of thereof enclosed in a sealed envelope with
postage thereon fully prepaid, in the United States mail addressed as follows:

Stephen L. Burton                                    Clerk of the Court
6452 Gaynor Ave                                      21041 Burbank Blvd.
Van Nuys, CA 91406                                   Woodland Hills, CA 91367-1367

John Keith Seals                                     JOHN KEITH SEALS
21604 Ridgefield Court                               1388 North Willowick Avenue
Saugus, CA 91350                                     Eagle, ID 83616


Executed at Sherman Oaks, California on May 02, 2019.

                                                               /s/ Ellen Latsch
                                                 Ellen Latsch
                                                 Claims Administrator




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